                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


COMPETITIVE ENTERPRISE INSTITUTE                       )
1899 L Street, N.W., 12th Floor                        )
Washington, D.C. 20036                                 )
                                                       )
                        Plaintiff,                     )
                                                       )
        v.                                             )       C.A. No. 12-1838
                                                       )
UNITED STATES DEPARTMENT OF                            )
THE TREASURY                                           )
1500 Pennsylvania Avenue, NW                           )
Washington, D.C. 20220                                 )
                                                       )
                Defendant.                             )

                 COMPLAINT FOR DECLARATORY RELIEF AND
                    RELIEF IN THE FORM OF MANDAMUS

Plaintiff COMPETITIVE ENTERPRISE INSTITUTE (“CEI”) for its complaint against

Defendant UNITED STATES DEPARTMENT OF THE TREASURY (“Treasury” or

“the Department”), alleges as follows:

1)   This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, to

     compel production under two requests for certain described records, which use the

     word “carbon,” dated during 2012, from two Treasury Department offices.

2)   CEI sent these FOIA requests by facsimile on August 8, 2012.

3)   Treasury did not substantively respond to Plaintiff’s request for records or for a fee

     waiver within twenty working days, or thirty days after taking a ten-day extension, as

     required under FOIA by either producing responsive records or demonstrating an

     intention to comply with the request.




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4)    The Treasury Department is an agency subject to FOIA and is accountable to the

      taxpayers and to the public.

5)    The records relate to agency performance of official functions.

6)    Transparency in government service is a legal requirement that has become the

      subject of great public interest and expectation, and specific and high-profile

      promises from the president and attorney general of the United States.

7)    The records at issue in this matter are of significant and immediate public interest for

      reasons including increasing media reports indicating that a “carbon tax” is being

      developed for the expected post-election “lame duck” session of Congress and, if that

      fails, for adoption next year as the new source of revenue for the federal government.

8)    Defendant has also failed to respond to CEI’s administrative appeal of Treasury’s

      failure to produce responsive records and refuses to satisfy its FOIA obligations.

                                           PARTIES

9)    Plaintiff CEI is a public policy research and educational institute in Washington,

      D.C., dedicated to advancing responsible regulation and in particular economically

      sustainable energy and environmental policy. CEI’s programs include research and

      publication, as well as a transparency initiative seeking public records relating to

      energy and environmental policy and how policymakers use public resources.

10)   Defendant Treasury is a federal agency, headquartered in Washington, DC.

                               JURISDICTION AND VENUE

11)   This Court has jurisdiction pursuant to 5 U.S.C. § 552(a)(4)(B) because this action is

      brought in the District of Columbia and 28 U.S.C. § 1331 because the resolution of

      disputes under FOIA presents a federal question.




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12)   Venue is proper in this Court under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391(e)

      for each of the following three reasons : (1) because Plaintiff resides in the District of

      Columbia (which is sufficient where defendant is an agency of the United States), (2)

      defendant resides here, and (3) the events giving rise to this lawsuit arose here, too.

                                 FACTUAL BACKGROUND

13)   This lawsuit seeks to compel Treasury to respond fully and completely to two FOIA

      requests dated August 7, 2012 and sent by facsimile on August 8, 2012. The requests

      seek described records dated in 2012 sent to or from or held by two specific offices

      within the Treasury Department.

14)   By one letter dated August 2, 2012, or five days before CEI sent its requests to

      Defendant, Treasury acknowledged these requests and took an extension of ten days

      to respond, on the basis of “unusual circumstances [that] exist regarding a search and

      review for the information requested due to the timeframe of the records requested

      which may potentially result in voluminous records”. This misdating contributed to

      CEI not correlating receipt of the request with the requests dated August 7, 2012, and

      CEI initially filed suit in September for failure to respond. CEI dismissed that

      complaint without prejudice awaiting Treasury’s production or otherwise its response

      to the administrative appeal.

15)   Treasury further confused matters when assigning identification numbers to these

      requests (2012-08-053 and 2012-08-054) by doing so without identifying which

      number corresponds to which request, in addition to dating the acknowledgement

      letter five days before the particular requests to which the letter apparently responds.

16)   With the extension of time, Treasury’s response was due September 20, 2012.




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17)   On September 25, 2012, CEI administratively appealed Treasury’s failure to

      substantively respond to CEI’s requests, and to respond to its requests for fee waiver.1

18)   Treasury has since denied CEI’s requests to have its fees waived or substantially

      reduced despite being barred under FOIA from assessing fees after failing to

      substantively respond by the statutory deadline.

19)   Treasury has also declared that CEI must pay for photocopying electronic mail that it

      specifically requested be provided in electronic format, requiring no photocopying.

20)   To date, Treasury has not provided any responsive records.

21)   CEI is entitled to the requested information, to have its fees waived, and to judicial

      review of Treasury’s refusals to provide the information.

22)   By Treasury’s failure to respond to CEI’s appeal for failure to respond, CEI has

      exhausted its administrative remedies and has the right to seek judicial remedy.

      Oglesby v. Department of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990).

                 Plaintiff's FOIA Request Seeking Certain Records of the
                               Office of the Deputy Secretary

23)   On August 8, 2012, CEI sent a request for records by facsimile to Treasury at

      202.622.3895, seeking:

         copies of any and all record(s), correspondence, memoranda, analysis, email or
         other records using the word “carbon” which were produced, sent or received
         by the Office of the Deputy Secretary for Environment and Energy during
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  By regular-mail letter dated September 26, 2012 and postmarked September 27, 2012,
Treasury denied Plaintiff’s requests to have its fees substantially reduced or waived as
provided under FOIA when disclosure of information is in the public interest because it is
likely to contribute significantly to public understanding of the operations or activities of
the government. Plaintiff appealed this fee waiver denial, which appeal remains
outstanding, also reminding Defendant by letter dated November 5, 2012 that under the
OPEN Government Act of 2007 (or “Openness Promotes Effectiveness in our National
Government Act of 2007”, P.L. 110-175) which amended FOIA, agencies that do not
respond to requests within the statutory time period are precluded from charging search
fees (or copying fees for media requesters, who are not subject to search fees). See infra.


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         2012, from January 1, 2012 until the date you process this Request.
         (emphases in original)

                 Plaintiff's FOIA Request Seeking Certain Records of the
                                Office of Legislative Affairs

24)   On August 8, 2012, CEI sent a request for records by facsimile to Treasury at

      202.622.3895, seeking:

         copies of any and all record(s), correspondence, memoranda, analysis, email or
         other records using the word “carbon” which were produced, sent or received
         by the Office of Legislative Affairs during 2012, from January 1, 2012 until
         the date you process this Request. (emphases in original)

25)   In both requests CEI stated “This Request contemplates copies of documents, in

      electronic format if you possess them as such, otherwise photocopies are acceptable.”

26)   In both requests, CEI noted that “it is important for information relating to

      deliberations, or deliberations with others inside government and without, over the

      prospect of a carbon tax or other effort to regulate carbon dioxide, to be made

      available to the public”, and “There has been great public interest, both in the past

      month and during previous discussions of Btu taxes, cap-and-trade and similar energy

      tax policies which are the core of this FOIA Request, to judge by internet and media

      attention, and thereby the request for fee waiver.”

                    Defendant's Response to Plaintiff’s FOIA Requests

27)   By a letter which Treasury dated August 2, 2012, six days before CEI’s requests were

      sent to or received by Treasury, Defendant acknowledged these two requests and took

      an extension of ten days to respond on the basis of “unusual circumstances [that] exist




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      regarding a search and review for the information requested due to the timeframe of

      the records requested which may potentially result in voluminous records.”2

28)   On September 25, 2012, having received no substantive response from Defendant,

      CEI administratively appealed Treasury’s failure both to substantively respond to the

      request for records or to the request for fee waiver.

29)   Treasury has failed to respond to that appeal for failure to produce.

30)   By letter dated the next day, September 26, 2012, and postmarked September 27,

      2012, Treasury denied CEI’s request to have its fees substantially reduced or waived,

      although it had waived its ability to assess fees by failing to respond substantively

      within 20 working days.

31)   Treasury’s basis for this denial was that CEI had allegedly not shown that disclosure

      would significantly inform the public about operations or activities of government.

32)   On October 25, 2012 CEI also appealed this denial. At Treasury’s request CEI also

      narrowed the scope of its request to note “we do not seek copies of any articles or

      media coverage already in the public domain; that is not to say we do not seek

      any commentary on them or emails accompanying them or to which they

      are/were attached. We also do not seek records whose sole use of ‘carbon’ is in

      ‘carbon copy’ or ‘carbon copies’”. (emphases in original)

33)   CEI again noted the significant public interest in the requested information,

      specifically citing to media reports of discussions about springing a “carbon” tax on

      the public after the November 2012 elections despite the Department having said

      nothing at all publicly about it.
2
 This misdating contributed to CEI not correlating receipt of the request by regular mail
with the requests dated August 7, 2012, and CEI initially filed suit for failure to respond.
CEI dismissed that complaint without prejudice and administratively appealed.


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34)   In its administrative appeal, CEI once more made this clear, noting, inter alia,

         the requested documents have an informative value ...[ as] expressions of
         priorities and aspirations of an administration for a not yet proposed, but
         increasingly anticipated proposal, for a controversial energy tax. As such it also
         reflects . . . an agenda that the president stated was designed to cause electricity
         prices to ‘necessarily skyrocket’ and ‘bankrupt’ politically disfavored industrial
         activity, comments made to the San Francisco Chronicle editorial board on video3
         that led to a major legislative and political defeat in 2009, and a presidential
         acknowledgement that he would find ‘other ways to skin the cat’,4 all of which
         remain among the most publicly discussed of his remarks since his candidacy for
         the presidency first began... Given the economic and social impact of the policies
         at issue in our requests, it is important for information relating to discussions
         about this possible move to quickly impose an energy tax be made available to the
         public. In our system it is the public who must ultimately be persuaded one way
         or the other on the policies discussed, and such a decision is only properly made
         with all appropriately available information. ...By disclosure and dissemination
         this information will facilitate meaningful public participation in the decision-
         making process... After disclosure of these records, the public's understanding of
         this unfolding debate, apparently about to be sprung on the taxpayer with
         relatively little time for deliberation and education, will be significantly enhanced,
         and they will be better informed if and when the idea is sprung on them or their
         elected representatives, whatever the administration’s ultimate position turns out
         to be. ... CEI also notes that there is no apparent legislative or regulatory carbon-
         taxing authority for Treasury; responsive records therefore would address plans
         for a possible push for congressional enactment. A push would include Treasury’s
         discussion about opposing or, more likely, supporting this new tax when
         proposed, and coordination with groups inside and outside Congress. Disclosure
         of the documents requested would serve the public interest by educating the
         public over what activities Treasury has been conducting regarding the prospect
         of Congress enacting a controversial new tax including preparations and
         coordination with advocates of a congressional, executive, and activist-group
         push for same.

35)   Further illustrating the public interest in the requested records, CEI similarly noted in

      the same document that responsive records would reflect “executive branch

      discussions of a controversial tax, the proposition of which in the upcoming lame-

      duck session of Congress is presently being discussed among activists particularly

3
 See remarks at, e.g., http://www.youtube.com/watch?v=sNZPT2NEHQM.
4
 See, e.g., “The Week in Green Energy: The Many Ways to Skin a Cat” , IBD Times,
November 8, 2010, http://www.ibtimes.co.uk/articles/20101108/week-green-energy-
many-ways-skincat.htm.


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      regular policy allies of the current administration5 -- about which Treasury

      acknowledges extensive discussion, with not one word publicly uttered...”

36)   Defendant also demonstrated the importance of the information and that it would

      significantly contribute to public understanding of operations or activities of

      government by asserting in its fee waiver denial that it had identified, in just the

      Office of Environment and Energy, 7,300 responsive emails in the year 2012.

37)   Based on Defendant’s own response, therefore, responsive records would by

      definition significantly inform the public about these operations or activities of

      government, in that they disclose something extensively discussed among colleagues,

      outside activists and lobbies and congressional offices, yet about which the

      administration has said nothing.

38)   By letter dated and sent by facsimile November 5, 2012, Plaintiff also reminded

      Defendant that Under the OPEN Government Act of 2007 (or “Openness Promotes

      Effectiveness in our National Government Act of 2007”, P.L. 110-175) which

      amended FOIA, agencies that do not respond to requests within the statutory time

      period are precluded from charging search fees (or copying fees for media requesters,

      who are not subject to search fees). See 5 U.S.C. §§ 552(a)(4)(A)(viii).

39)   Further reflecting the apparent use of fees to delay and deny access to public records,

      Defendant also cited the cost of photocopying a large volume of records as relevant to

      its decision to not waive fees, although in its requests Plaintiff specifically asked for




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  See, e.g., Beltway Confidential, “Conservative think tank AEI hosted secret meeting
with liberal groups on carbon taxation”, Washington Examiner, July 12, 2012,
http://washingtonexaminer.com/conservative-think-tank-aei-hosted-secret-meeting-with-
liberal-groups-on-carbon-taxation/article/2502017#.UIhmao7mrS8.


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      records in electronic format where available. The 7,300 emails are, by definition, in

      by default in electronic format.

40)   The decision to refuse to waive fees despite having lost that right, and these other

      specifics of Defendant’s refusal suggests it is using fees as a barrier, to delay or deny

      production of potentially embarrassing records.

                                   LEGAL ARGUMENTS

41)   FOIA provides that a requesting party is entitled to a substantive agency response

      within twenty working days, affirming the agency is processing the request and

      intends to comply. It must rise to the level of indicating “that the agency is exercising

      due diligence in responding to the request...Upon any determination by an agency to

      comply with a request for records, the records shall be made promptly available to

      such person making such request.” 5 U.S.C. § 552(a)(6)(A)(i). See, e.g.,Shermco

      Industries v. Secretary of the U.S. Air Force, 452 F. Supp. 306 (N.D. Tex. 1978).

42)   Defendant did not substantively respond to Plaintiff’s request as required.

43)   The courts have deemed a substantive agency response to mean the agency must

      begin to process the request. See, e.g., Oglesby v. U.S. Dep’t of Army, 920 F.2d 57.

      Examples include informing a requester that it assigned the request(s) to the simple,

      normal or complex processing tracks and giving notice that it is reviewing some

      quantity of records with an eye toward production on some estimated schedule. See,

      e.g., Citizens for Responsibility and Ethics in Washington v. Federal Election

      Commission, 839 F. Supp. 2d 17, 25 (D.D.C. 2011).




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44)   Merely stating that an agency received a legible copy of a request does not constitute

      a response. An agency must demonstrate an intention to process the request. See, e.g.,

      Oglesby v. Department of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990).

45)   After taking an extension of time to respond, Treasury owed CEI a substantive

      response to its requests for information by September 20, 2012.

46)   Treasury has now identified responsive records but provided none to CEI.

47)   Treasury is not further processing CEI’s requests on the grounds that CEI must first

      agree to pay a substantial fee to photocopy several thousand pages of electronic mail,

      a demand that is arbitrary and capricious on three grounds: CEI specifically requested

      electronic copies of records where available, and that is the default format of

      electronic mail; disclosure of responsive records is plainly in the public interest for

      reasons stated to Treasury and in this Complaint; and Treasury waived its right to

      assess fees by not responding to CEI’s request within the statutory time period.

      (Moreover, in its FOIA request, CEI had indicated a willingness to pay certain fees if

      its fee waiver request was denied, so that document production could proceed in the

      interim;6 and it later narrowed its request to limit the costs of production.7 )

48)   Treasury arbitrarily and capriciously denied that CEI had shown disclosure to be in

      the public interest (by significantly informing the public about operations or activities

      of the government), because it deemed CEI’s request to be “broad.”

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  In rejecting CEI’s request for a general fee waiver, Treasury assigned CEI “a fee category of ‘all other
requestors,’ which entitles” CEI “to 100 pages of duplication and the first two hours of search for
responsive records without charge. See 31 C.F.R. § 1.7(a)(4).” In its letter doing so, Treasury implicitly
indicated that there had been no chargeable search costs under this designation, i.e., that less than two hours
of search time had been necessary to locate the documents that Treasury had identified but refused to
produce. See id. at 2 (basing estimated cost of production for “responsive documents” entirely on “per
page” charges of photocopying emails, etc., without any search costs). The 7,300 emails identified as
“responsive documents” could be produced at little cost in electronic form, which would eliminate
“duplication” costs (as previously noted, their identification did not result in chargeable search costs).
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  See supra, paragraph 32.


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49)   CEI’s requests are not “broad,” but rather deal with a subject the Treasury

      Department has only recently begun to explore regulating. For example, the Treasury

      Department Office of Environment and Energy was created in anticipation of possible

      legislative enactment of authority to execute a cap-and-trade program for carbon

      dioxide, colloquially known as “carbon cap-and-trade”; it would administer a “carbon

      tax.” It has no regulatory authority to address “carbon” anything. As such, a request

      for records using the word “carbon” is not “broad” and it will be the rare exception

      that such records are not discussing carbon dioxide, possibly in the context of the

      failed (2009) cap-and-trade program but almost certainly the “carbon” tax currently

      being discussed among the administration, certain congressional offices and

      numerous industry and pressure group lobbies.

50)   Treasury has wrongly denied CEI’s requests to have its fees waived or substantially

      reduced, as “disclosure of the [requested] information is in the public interest because

      it is likely to contribute significantly to public understanding of the operations or

      activities of the government.”

51)   FOIA is designed to “pierce the veil of administrative secrecy and to open agency

      action to the light of scrutiny.” Department of the Air Force v. Rose, 425 U.S. 352

      (1976). It is a transparency-forcing law, consistent with “the basic policy that

      disclosure, not secrecy, is the dominant objective of the Act.” Id.

52)   The Act requires all doubts to be resolved in favor of disclosure. It is well-settled that

      Congress, through FOIA, “sought ‘to open agency action to the light of public

      scrutiny.’” DOJ v. Reporters Comm. for Freedom of Press, 498 U.S. 749, 772 (1989)

      (quoting Dep’t of Air Force v. Rose, 425 U.S. 353, 372 (1976)). The legislative




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      history is replete with reference to the, “‘general philosophy of full agency

      disclosure’” that animates the statute. Rose, 425 U.S. at 360 (quoting S.Rep. No. 813,

      89th Cong., 2nd Sess., 3 (1965)).

53)   Accordingly, when an agency withholds requested documents the burden of proof is

      placed squarely on the agency, with all doubts resolved in favor of the requester. See,

      e.g., Federal Open Mkt. Comm. v. Merrill, 443 U.S. 340, 352 (1979). This is true

      regardless of whether the agency is claiming an Exemption under FOIA in whole or

      in part. See, e.g., Tax Analysts, 492 U.S. at 142 n. 3; Consumer Fed’n of America v.

      Dep’t of Agriculture, 455 F.3d 283, 287 (D.C. Cir. 2006); Burka, 87 F.3d at 515.

54)   Thus, Treasury must now provide Plaintiff records responsive to its requests.

                  Defendant Treasury Owes Plaintiff a Waiver of its Fees

55)   FOIA is aimed in large part at promoting active oversight roles of watchdog public

      advocacy groups. See Better Gov't Ass'n v. Department of State, 780 F.2d 86, 88-89

      (D.C. Cir. 1986)(fee waiver intended to benefit public interest watchdogs.

56)   As a non-commercial requester, Plaintiff is entitled to liberal construction of the fee

      waiver standards and satisfying FOIA’s fee waiver considering whether disclosure

      would inform the public. 5 U.S.C.S. § 552(a)(4)(A)(iii), Perkins v. U.S. Department

      of Veterans Affairs, 754 F. Supp. 2d 1 (D.D.C. Nov. 30, 2010).

57)   “The legislative history of the fee waiver provision reveals that it was added to FOIA

      ‘in an attempt to prevent government agencies from using high fees to discourage

      certain types of requesters, and requests,’ in particular those from journalists, scholars

      and nonprofit public interest groups.” Better Gov’t Ass’n, 780 F.2d 86, 88-89 (D.C.




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      Cir. 1986), citing Ettlinger v. FBI, 596 F. Supp. 867, 872 (D.Mass. 1984); Senate Jud.

      Comm., Amending the FOIA, S. Rep. 854, 93rd Cong., 2d Sess. 11-12 (1974)).

58)   This was grounded in the recognition that the two plaintiffs in that case were, like

      Plaintiff in the instant matter, public interest non-profit groups, which “rely heavily

      and frequently on FOIA and its fee waiver provision to conduct the investigations that

      are essential to the performance of certain of their primary institutional activities --

      publicizing governmental choices and highlighting possible abuses that otherwise

      might go undisputed and thus unchallenged. These investigations are the necessary

      prerequisites to the fundamental publicizing and mobilizing functions of these

      organizations. Access to information through FOIA is vital to their organizational

      missions.” Better Gov’t Ass’n, 780 F.2d at 93.

59)   They therefore, like CEI, “routinely make FOIA requests that potentially would not

      be made absent a fee waiver provision”, requiring the court to consider the

      “Congressional determination that such constraints should not impede the access to

      information for appellants such as these.” Id.

60)   “Congress explicitly recognized the importance and the difficulty of access to

      governmental documents for such typically under-funded organizations and

      individuals when it enacted the ‘public benefit’ test for FOIA fee waivers. This

      waiver provision was added to FOIA ‘in an attempt to prevent government agencies

      from using high fees to discourage certain types of requesters and requests,’ in a clear

      reference to requests from journalists, scholars and, most importantly for our

      purposes, nonprofit public interest groups. Congress made clear its intent that fees

      should not be utilized to discourage requests or to place obstacles in the way of such




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      disclosure, forbidding the use of fees as ‘“toll gates” on the public access road to

      information.’” See Better Gov’t Ass’n, 780 F. 2d at 94 (citations omitted).

61)   “[I]nsofar as ...[agency] guidelines and standards in question act to discourage FOIA

      requests and to impede access to information for precisely those groups Congress

      intended to aid by the fee waiver provision, they inflict a continuing hardship on the

      non-profit public interest groups who depend on FOIA to supply their lifeblood --

      information.” Id. at 94 (internal citations omitted). It therefore will not permit such

      application of FOIA requirements that “‘chill’ the ability and willingness of” such

      groups “to engage in activity . . . that Congress explicitly wished to encourage.” Id.

62)   Congress also enacted FOIA clearly intending that “fees should not be used for the

      purpose of discouraging requests for information or as obstacles to disclosure of

      requested information.” See Ettlinger v. FBI, 596 F.Supp. 867, 872 (D.Mass 1984),

      citing Conf. Comm. Rep., H.R. Rep. No. 1380, 93d Cong., 2d Sess. 8 (1974) at 8.

63)   Congress saw that agencies were being too restrictive in granting fee waivers and so

      called for the Department of Justice to issue Guidelines in response. See Ettlinger v.

      FBI, 596 F.Supp. 867, 872 (D.Mass 1984), citing Subcommittee on Administrative

      Practice and Procedure of the Senate Judiciary Committee, Agency Implementation of

      the 1974 Amendments to the Freedom of Information Act: Report on Oversight

      Hearings, 95th Cong., 2d Sess. 78 (Committee Print 1980), at 90-95.

64)   The language of the FOIA makes clear that Congress intended that the assessment of

      fees not be a bar to private individuals or public interest groups seeking access to

      government documents. FOIA specifically and the legislative history of the relevant

      FOIA provision calls for a liberal interpretation of the fee waiver standard. See




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      McClellan Ecological Seepage Situation v. Carlucci, 835 F.2d 1282, 1284-1286 (9th.

      Cir. 1987) (“A requester is likely to contribute significantly to public understanding

      ‘if the information disclosed is new; supports public oversight of agency operations;

      or otherwise confirms or clarifies data on past or present operations of the

      government’”), quoting 132 Cong. Rec. H9464 (Reps. English and Kindness)).

65)   The information requested request numbers 2012-08-053 and 2012-08-054 meets that

      description, for reasons both obvious and specified herein.

66)   Defendant Treasury instead improperly applied the directive of the statute,

      improperly concluding that the public would not benefit substantially from disclosure

      of the requested information, and wrongly asserting that Plaintiff did not make a

      sufficient showing that it would.

67)   The legislative history suggests that all fees should be waived whenever a requester is

      seeking information on a subject relating to the manner in which a government

      agency is carrying out its operations or the manner in which an agency program

      affects the public. The requested information also meets this description.

68)   The release of this information would benefit the public because for the first time the

      public would see internal discussions with others inside government and without,

      over the prospect of a carbon tax or other effort to regulate carbon dioxide, about

      which there is increasing public and media interest, all of which discussion has

      occurred out of the public’s sight.

69)   Treasury offers no evidence to rebut this reality, inherent and explained in Plaintiff’s

      request, that disclosure of the requested information would contribute significantly to

      public understanding of the operations or activities of the government when there is




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      no other means of obtaining the information requested: discussions about a new,

      controversial energy tax apparently about to be sprung on the public which is the

      subject of intense deliberations outside of public view yet about which the

      administration has said nothing publicly.

70)   As CEI also reminded Treasury, under the OPEN Government Act of 2007 (P.L. 110-

      175), which amended FOIA, agencies that do not respond to requests within the

      statutory time period are barred from charging search fees (or copying fees for media

      requesters, who are not subject to search fees). Bensman v. Nat'l Park Serv., 806 F.

      Supp. 2d 31 (D.D.C. Aug. 10, 2011)(“To underscore Congress's belief in the

      importance of the statutory time limit, the 2007 Amendments declare that ‘[a]n

      agency shall not assess search fees . . . if the agency fails to comply with any time

      limit’ of FOIA. § 552(a)(4)(A)(viii)”). See also Lawyers Comm. for Civil Rights v.

      Dep't of the Treasury, 2009 WL 2905963 (N.D. Cal. Sept. 8, 2009) (Defendant

      waived its right to object to plaintiff's request for a fee waiver where it failed to

      respond within twenty days of the request.).

71)   Finally, since this request is for material which is clearly of benefit to the public,

      other persons will undoubtedly also request these records. It would be inequitable if

      the first requester were to bear the full material cost of the initial search.

                          FIRST CLAIM FOR RELIEF
  Release of Certain Records using the Word “Carbon”, Request Nos. 2012-08-053
                     and 2012-08-054 -- Declaratory Judgment

72)   Plaintiff re-alleges paragraphs 1-71 as if fully set out herein.

73)   Plaintiff has sought and been denied production of responsive records reflecting the

      conduct of official business.




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74)   Plaintiff has a statutory right to the information it seeks.

75)   Defendant failed to provide Plaintiff responsive records.

76)   Plaintiff has exhausted its administrative remedies.

77)   Plaintiff asks this Court to enter a judgment declaring that:

          i. Documents in Treasury’s possession using the word “carbon” as described in
             request numbers 2012-08-053 and 2012-08-054 are agency records under
             FOIA;
          ii.      Treasury’s response to Plaintiff's FOIA Request seeking the described
             records is not reasonable, and does not satisfy Treasury’s FOIA obligations;
          iii. Treasury’s refusal to produce the requested records is unlawful; and
          iv. Treasury must produce those requested records within ten days of the order.

                         SECOND CLAIM FOR RELIEF
  Release of Certain Records using the Word “Carbon”, Request Nos. 2012-08-053
                        and 2012-08-054 -- Injunctive Relief

78)   Plaintiff re-alleges paragraphs 1-77 as if fully set out herein.

79)   CEI is entitled to injunctive relief compelling Treasury to produce all records in its

      possession responsive to CEI's request Nos. 2012-08-053 and 2012-08-054.

80)   We ask this Court to enter an injunction pursuant to 5 U.S.C. § 552(a)(4)(B) a

      enjoining Treasury from further withholding responsive records and ordering the

      Treasury to produce to CEI, within 10 business days of the date of the order, the

      described, requested records or a detailed Vaughn index claiming FOIA exemptions

      applicable to withheld information.

                         THIRD CLAIM FOR RELIEF
 Requests for Fee Waivers for Certain Described Records -- Declaratory Judgment

81)   Plaintiff re-alleges paragraphs 1-80 as if fully set out herein.

82)   CEI has sought and been denied a waiver or reduction of its fees for two requests

      under the Freedom of Information Act.




                                                 17
83)   FOIA provides for fee waiver or reduction when “disclosure of the [requested]

      information is in the public interest because it is likely to contribute significantly to

      public understanding of the operations or activities of the government.”

84)   CEI has a statutory right to have its fees waived or substantially reduced.

85)   Treasury denied CEI’s request for waiver or substantial reduction of its fees.

86)   Treasury has not yet responded to CEI’s administrative appeal of these denials.

87)   Regardless, Treasury is barred from requiring fees having failed to substantively

      respond within the statutory time period.

88)   CEI has exhausted its administrative remedies.

89)   Plaintiff asks this Court to enter a judgment declaring that:

          i.   Disclosure of Treasury records as described in Plaintiff’s request numbers
             2012-08-053 and 2012-08-054 is in the public interest because it is likely to
             contribute significantly to public understanding of the operations or activities of
             the government;
          ii. Treasury may not assess fees due to its failure to substantively respond in the
             statutory time period;
          iii.     Treasury’s refusal to grant Plaintiff’s requests for fee waiver is unlawful;
          iv. Treasury denial of Plaintiff's fee waiver requests is not reasonable, and does
               not satisfy Treasury’s obligations under FOIA; and
          v. Treasury must grant Plaintiff’s requests to have its fees waived or substantially
               reduced associated with producing the requested records.

                          FOURTH CLAIM FOR RELIEF
      Requests for Fee Waivers for Certain Described Records -- Injunctive Relief

90)   Plaintiff re-alleges paragraphs 1-89 as if fully set out herein.

91)   CEI is entitled to injunctive relief compelling Treasury to grant Plaintiff’s requests to

      have its fees waived or substantially reduced.

92)   We ask this Court to enter an injunction ordering Treasury to grant CEI’s requests to

      have its fees waived or substantially reduced within 10 days of the date of the order.

                                FIFTH CLAIM FOR RELIEF



                                                18
                             Costs And Fees – Injunctive Relief

93)   Plaintiff re-alleges paragraphs 1-92 as if fully set out herein.

94)   Pursuant to 5 U.S.C. § 552(a)(4)(E), the Court may assess against the United States

      reasonable attorney fees and other litigation costs reasonably incurred in any case

      under this section in which the complainant has substantially prevailed.

95)   This Court should enter an injunction ordering the Defendant to pay reasonable

      attorney fees and other litigation costs reasonably incurred in this case.

96)   Plaintiff has a statutory right to the records that it seeks, Defendant has not fulfilled

      its statutory obligations to provide the records or a substantive response, and there is

      no legal basis for withholding the records.

WHEREFORE, Plaintiff requests the declaratory and injunctive relief herein sought,
and an award for their attorney fees and costs and such other and further relief as the
Court shall deem proper.

             Respectfully submitted this 13th day of November, 2012,




                                                         Hans Bader
                                                         D.C. Bar No. 466545




                                                         Christopher C. Horner
                                                         D.C. Bar No. 440107

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November 13, 2012                                        Attorneys for Plaintiff


                                                19
